

Matter of Levy v Jaffee (2017 NY Slip Op 06613)





Matter of Levy v Jaffee


2017 NY Slip Op 06613


Decided on September 26, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 26, 2017

Sweeny, J.P., Renwick, Kapnick, Kern, Moulton, JJ.


4492 111/17 -3838

[*1]In re Herbert Levy, Petitioner,
vBarbara Jaffee, et al., Respondents.


Herbert Levy, petitioner pro se.
John W. McConnell, New York (Pedro Morales of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
ENTERED: SEPTEMBER 26, 2017
CLERK








